
608 So.2d 194 (1992)
Mary Ethylene Wyatt MIGUEZ
v.
Paul MIGUEZ.
No. 92-C-2606.
Supreme Court of Louisiana.
November 30, 1992.
Denied.
LEMMON, J., concurs. La.Code Civ. Proc. art. 3943 applies only to judgments awarding alimony. When the judgment denies permanent alimony, there is nothing to suspend, but the obligation to pay alimony pendente lite continues until the judgment denying alimony becomes res judicata. If the appeal of the spouse denied alimony is frivolous, other consequences may follow.
CALOGERO, C.J., and COLE, J., would grant the writ.
